                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                         CRIMINAL DOCKET NO.: 5:95CR6

SHAHBORN EMMANUEL (2),              )
                                    )
            Petitioner,             )
                                    )
            vs.                     )                                ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Respondent.             )
___________________________________ )

       THIS MATTER is before the Court on Petitioner’s “Motion for Specific Performance

and Withdrawal of Guilty Plea,” filed December 9, 2005.

       On October 5, 1995, pursuant to a written Plea Agreement with the Government,

Defendant pled guilty to Count One of the Bill of Indictment. Subsequent to entering this plea,

the Court ordered Defendant to undergo a psychiatric evaluation. On August 1, 1997, the Court

held a competency hearing at which time the Court determined that based on the psychiatric

evaluation, Defendant was competent. Also on August 1, 1997, the Court sentenced Defendant

to 84 months imprisonment to run concurrently with any sentence Defendant was already serving

and with any sentence for which Defendant was currently subject. Defendant did not file an

appeal or a Section 2255 motion.

       Defendant now asks the Court to allow him to withdraw his guilty plea. Defendant

contends that in exchange for entering a plea of guilty, the Assistant United States Attorney told

Defendant that his federal sentence would run concurrently with a sentence he was to serve in

South Carolina. Defendant argues that despite this agreement, he is now required to serve his


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South Carolina sentence.

       Notably, Defendant reaffirmed his guilty plea on August 1, 1997, and proceeded with his

sentencing. Defendant did not appeal his sentence nor did he contest his sentence by filing a

Section 2255 motion. Therefore, this Court does not have jurisdiction to rule on Defendant’s

Motion to Withdraw Plea. Consequently, Defendant’s Motion is moot.

       IT IS, THEREFORE, ORDERED that Defendant’s “Motion for Specific Performance

and Withdrawal of Guilty Plea” is hereby DENIED.

       The Clerk is directed to send copies of this Order to Defendant, defense counsel, and the

United States Attorney.



                                                Signed: February 2, 2006




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